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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE



  In re:                                                   Chapter 11

  PGX HOLDINGS, INC., et al.,                              Case No. 23-10718 (CTG)

                               Debtors. 1                  (Jointly Administered)


  KIRSTEN HANSEN on behalf of herself and all
  others similarly situated,

                               Plaintiff,                  Adv. Proc. No. 23-50396 (CTG)

                 v.

  PGX HOLDINGS, INC.; PROGREXION
  HOLDINGS, INC.; PROGREXION
  TELESERVICES, INC.; PROGREXION
  MARKETING, INC.; PROGREXION ASG, INC.;
  PROGREXION IP, INC.; EFOLKS, LLC;
  CREDITREPAIR.COM, INC.; CREDIT.COM,
  INC.; and JOHN C. HEATH, ATTORNEY AT
  LAW PC,

                               Defendants.


   PLAINTIFF’S RESPONSE TO DEFENDANTS’ STATEMENT OF UNDISPUTED
                               FACTS


       Plaintiff submits the following response to Defendants’ Statement of Undisputed Facts in

its Brief in Support of Motion for Summary Judgment (D.I. 17 at 3, ¶¶ 5-69).

A. The CFPB Litigation:

       5.     Defendants’ Statement: On May 2, 2019, the Bureau of Consumer Financial

Protection (the “CFPB”) filed a civil action styled Bureau of Consumer Financial Protection v.




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Progrexion Marketing, Inc. et. al., Case 2:19-CV-00298-BSJ (the “CFPB Litigation”) in the

United States District Court, District of Utah (the “Utah Court”). Wallace Dec. ¶ 39.

                 Plaintiff’s response: Not disputed.

       6.        Defendants’ Statement: The CFPB alleged five counts against Defendants

Progrexion Marketing, Inc., PGX Holdings, Inc., Progrexion Teleservices, Inc., eFolks, LLC,

CreditRepair.com, and Lexington Law (collectively, the “CFPB Defendants”). Id.

                 Plaintiff’s response: Not disputed.

       7.        Defendants’ Statement: Count I of the CFPB’s amended complaint alleged that

commencing March 8, 2016, the CFPB Defendants’ billing practices violated the advance fee

provision of the Telemarketing Services Rule (the “TSR”), 16 C.F.R. § 310.4(a)(2). Wallace

Dec. ¶¶ 9, 39.

                 Plaintiff’s response: Not disputed.

       8.        Defendants’ Statement: The CFPB sought approximately $2.7 billion in

monetary relief for the CFPB Defendants’ alleged violation of the TSR. Wallace Dec. ¶ 41.

                 Plaintiff’s response: Not disputed.

       9.        Defendants’ Statement: Over the next four years, the CFPB Defendants heavily

contested the CFPB’s interpretation of the TSR and its authority to enforce it. See e.g., Wallace

Dec. ¶¶ 40-41.

                 Plaintiff’s response: Disputed because this statement is a subjective

characterization of events.

       10.       Defendants’ Statement: For example, following extensive discovery, on August

20, 2021, Lexington Law moved for summary judgment on Count I of the CFPB’s amended




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complaint, challenging the CFPB’s reading of the TSR for at least five reasons, including

constitutional deficiencies. See CFPB Litigation D.I. 171.

                 Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events.

       11.       Defendants’ Statement: On January 20, 2022, the Utah Court denied Lexington

Law’s motion “without prejudice.” See CFPB Litigation D.I. 287.

                 Plaintiff’s response: Not disputed.

       12.       Defendants’ Statement: On January 21, 2022, CFPB Defendants Progrexion

Marketing, Inc., PGX Holdings, Inc., Progrexion Teleservices, Inc., eFolks, LLC, and

CreditRepair.com, Inc. moved for summary judgment challenging the CFPB’s interpretation of

the TSR. See CFPB Litigation D.I. 288.

                 Plaintiff’s response: Not disputed.

       13.       Defendants’ Statement: On May 16, 2022, the Utah Court denied that motion for

summary judgment “without prejudice.” See CFPB Litigation D.I. 403.

                 Plaintiff’s response: Not disputed.

       14.       Defendants’ Statement: On December 10, 2021, the CFPB moved for partial

summary judgment on Count I of its amended complaint against all CFPB Defendants. See

CFPB Litigation D.I. 257.

                 Plaintiff’s response: Not disputed.

       15.       Defendants’ Statement: The parties filed multiple briefs in support and

opposition to the CFPB’s motion for summary judgment, and the Utah Court held multiple

hearings on that motion. See e.g., CFPB Litigation D.I. 257, 277, 283, 301, 306, 341, 358, 470,

475, 478, 480.



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               Plaintiff’s response: Not disputed.

       16.     Defendants’ Statement: Notably, the CFPB Defendants challenged again the

CFPB’s interpretation of the TSR, urging the Utah Court to adopt the United States Court of

Appeals for the Fifth Circuit’s The decision in a parallel case, Community Financial Services

Ass’n of America v. CFPB, 51 F.4th 616 (5th Cir. Oct. 19, 2022). See CFPB Litigation D.I. 496.

               Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events.

       17.     Defendants’ Statement: In that case, the Fifth Circuit held that “Congress’s

cession of its power of the purse to the [CFPB] violates the Appropriations Clause and the

Constitution’s underlying structural separation of powers.” Community Financial, 51 F. 4th at

644.

               Plaintiff’s response: Not disputed.

       18.     Defendants’ Statement: The CFPB Defendants pointed to the CFPB’s petition

for writ of certiorari to the Supreme Court of the United States, where the CFPB argued that the

Fifth Circuit’s decision could impact its case against the CFPB Defendants because the opinion

“calls into question virtually every action [the CFPB] has taken in the 12 years since it was

created.” See CFPB Litigation D.I. 496 at 1 (quoting the CFPB’s petition for a writ of certiorari).

               Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events.

       19.     Defendants’ Statement: On February 27, 2023, the Supreme Court granted the

CFPB’s petition for a writ of certiorari but delayed oral arguments on the CFPB’s

constitutionality until October 2, 2023. See U.S. D.I. 22-448 (Jul. 14, 2023).

       Plaintiff’s response: Not disputed.



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       20.     Defendants’ Statement: Against this backdrop, on Friday, March 10, 2023, the

Utah Court entered an order granting partial summary judgment in favor of the CFPB on Count I

of its amended complaint (the “March 10 Order”). See CFPB Litigation D.I. 508.

               Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events.

       21.     Defendants’ Statement: The Utah Court concluded that the CFPB Defendants’

business practices violated the TSR, but “the court ma[de] no determination regarding damages.”

See March 10 Order at 13.

               Plaintiff’s response: Not disputed.

       22.     Defendants’ Statement: The next business day, on Monday, March 13, 2023, the

CFPB Defendants moved to stay the March 10 Order pending interlocutory review by the United

States Court of Appeals for the Tenth Circuit. See CFPB Litigation D.I. 509-513.

               Plaintiff’s response: Not disputed.

       23.     Defendants’ Statement: On March 15, 2023, the Tenth Circuit entered an order

temporarily staying the March 10 Order pending interlocutory review. See CFPB Litigation D.I.

515.

               Plaintiff’s response: Not disputed.

       24.     Defendants’ Statement: Over the next three weeks, the CFPB and CFPB

Defendants briefed motions seeking a stay and review of the March 10 Order. See CFPB

Litigation D.I. 509-536.

               Plaintiff’s response: Not disputed.

       25.     Defendants’ Statement: For example, on March 23, 2023, the CFPB Defendants

moved to expedite the hearing on their motion to stay the March 10 Order, arguing that



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“compliance with the March 10 Order will put [the CFPB Defendants] out of business in short

order” partly because the CFPB Defendants “would have to cease monthly billing for the over

80% of credit repair clients who signed up for services over the phone for at least six months –

causing [the CFPB Defendants] to run out of cash within a few weeks.” See CFPB Litigation D.I.

519.

                Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events.

        26.     Defendants’ Statement: On April 4, 2023, the Tenth Circuit lifted the temporary

stay and denied interlocutory review of the March 10 Order. See CFPB Litigation D.I. 537.

                Plaintiff’s response: Not disputed.

        27.     Defendants’ Statement: On April 6, 2023, the Utah Court denied the CFPB

Defendants’ motion to stay the March 10 Order. See CFPB Litigation D.I. 539.

                Plaintiff’s response: Not disputed.

        28.     Defendants’ Statement: On June 7, 2023, the Utah Court also denied the CFPB’s

motion for “Award of Monetary and Injunctive Relief, Assessment of Civil Money Penalties,

and Entry of Final Judgment Against all Defendants on Count I.” See CFPB Litigation D.I. 574.

The Utah Court concluded “it became apparent that outstanding issues of fact preclude the Court

from entering Plaintiff’s requested relief at this time.” Id. at 3.

                Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events.

        29.     Defendants’ Statement: Two months earlier, the CFPB Defendants had been

forced to stop all marketing, close call centers, and institute a review of billing practices across




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their businesses to comply with the CFPB’s interpretation of the TSR and to avoid financial

catastrophe. See Wallace Dec. ¶ 29.

               Plaintiff’s response: Disputed to the extent this statement contains a

subjective characterization of events and there is no documentary evidence that the CFPB

Defendants had been “forced” to stop all marketing, close call centers, and institute a

review of billing practices across their businesses to comply with the CFPB’s interpretation

of the TSR and to avoid financial catastrophe.

B. Defendants’ Relevant Financial History:

       30.     Defendants’ Statement: In 2021, the PGX Defendants generated approximately

$457 million in gross revenue. See Supplemental Declaration of Chad Wallace in Support of this

Motion (the “Wallace Sup. Dec.”), filed concurrently, at ¶ 5.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       31.     Defendants’ Statement: In 2022, the PGX Defendants generated approximately

$335 million in gross revenue, which included $251.6 million paid by Lexington Law for the

services described above. See Wallace Dec. ¶¶ 20, 27.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       32.     Defendants’ Statement: In the first quarter of 2023, the PGX Defendants

generated approximately $64 million in gross revenue. Wallace Sup. Dec. ¶ 7.




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               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       33.     Defendants’ Statement: The PGX Defendants supplemented their revenue

through two primary credit facilities that they refinanced in July 2021 due to COVID-related

headwinds. See Wallace Dec. ¶¶ 30-34.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       34.     Defendants’ Statement: Specifically, on July 21, 2021, the PGX Defendants and

some of their affiliates entered into the First Lien Financing Agreement (the “First Lien

Facility”) with certain lenders and Blue Torch Finance LLC as administrative and collateral

agent. See Wallace Dec. ¶ 31.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       35.     Defendants’ Statement: On July 21, 2021, the PGX Defendants and some of

their affiliates entered into a second-lien term loan credit facility (the “Second Lien Facility”)

with certain creditors and Prospect Capital Corporation as administrative agent for the creditors.

Wallace Dec. ¶ 33.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.



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       36.     Defendants’ Statement: The First Lien Facility and Second Lien Facility (the

“Prepetition Facilities”) refinanced pre-existing debt and included additional liquidity tests in the

event of a judgment or resolution of the CFPB Litigation. Wallace Dec. ¶ 48.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

               37.     Defendants’ Statement: Between July 2021 and the fall of 2022, the

PGX Defendants continued to face financial headwinds, and in September 2022, they engaged a

financial advisor and restructuring counsel to explore a possible recapitalization or restructuring

of the Prepetition Facilities. Wallace Dec. ¶ 50.

       Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       38.     Defendants’ Statement: Those negotiations culminated on December 28, 2022,

when the prior majority owner of PGX Holdings, Inc. agreed to transfer equity to Prospect, and

in exchange, the creditors agreed to advance $40 million in new funds under the Prepetition

Facilities (the “December 2022 Facility”). Wallace Dec. ¶¶ 50-51.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       39.     Defendants’ Statement: The December 2022 Facility consisted of $15 million

that the lenders advanced on December 28, 2022, and an additional $30 million that were to be

disbursed throughout the Spring of 2023. Wallace Dec. ¶ 51.



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               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       40.     Defendants’ Statement: On March 17, 2023, the PGX Defendants requested to

draw the $30 million balance of the December 2022 Facility to supplement their revenue so they

could cover operating expenses, including payroll, and make a $7.7 million interest payment that

was due March 31, 2023, on the Prepetition Facilities. See Wallace Dec. ¶ 53; see also, Wallace

Sup. Dec. ¶ 10.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced.

       41.     Defendants’ Statement: The $30 million in additional funding available under

the December 2022 Facility would have also allowed the PGX Defendants to continue business

operations for several months. Wallace Sup. Dec. ¶ 11.

               Plaintiff’s response: Disputed as to the characterization of events.

       42.     Defendants’ Statement: On March 24, 2023, Prospect did not fund the PGX

Defendants’ request, stating that the borrowers had not satisfied all conditions under the

Prepetition Facilities. Wallace Sup. Dec. ¶ 12.

               Plaintiff’s response: Not disputed.

       43.     Defendants’ Statement: A copy of Prospect’s rejection of the $30 million draw

is attached as Exhibit 1 to Wallace’s Supplemental Declaration. See Wallace Sup. Dec. ¶ 13.

               Plaintiff’s response: Not disputed.

       44.     Defendants’ Statement: On March 29, 2023, the PGX Defendants replied

demanding that Prospect fund the $30 million draw because they had not defaulted under the



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Second Lien Facility and failure to receive those funds would cause the PGX Defendants to shut

down operations. See Wallace Sup. Dec. ¶ 14.

               Plaintiff’s response: Disputed as to the characterization of events.

       45.     Defendants’ Statement: A copy of the PGX Defendants’ reply to Prospect is

attached as Exhibit 2 to the Wallace Supplemental Declaration. See Wallace Sup. Dec. ¶ 15.

               Plaintiff’s response: Undisputed.

       46.     Defendants’ Statement: On Friday, March 31, 2023, the lenders did not fund the

$30 million draw under the December 2022 Facility. Wallace Dec. ¶¶ 54-55.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       47.     Defendants’ Statement: Instead, the PGX credit parties negotiated a short

forbearance agreement with the prepetition lenders and skipped the $7.7 million interest payment

that was due on March 31, 2023. See Wallace Sup. Dec. ¶ 17. The parties entered into successive

forbearance agreements with respect to the Prepetition Facilities effective through June 4, 2023

(collectively, the “Forbearance Agreements”). Id. With the Forbearance Agreements in place, the

parties focused on a more comprehensive restructuring transaction to be effectuated through a

chapter 11 process. Wallace Dec. ¶¶ 54-55.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

C. Layoffs and Bankruptcy Filing:




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       48.     Defendants’ Statement: Throughout the CFPB Litigation, the Defendants

worked on alternative business models that would address the CFPB’s concerns. Wallace Sup.

Dec. ¶ 18.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       49.     Defendants’ Statement: Those efforts continued until April 4, 2023, when the

Tenth Circuit denied the motion to for interlocutory appeal and lifted its stay of the March 10

Order. Wallace Sup. Dec. ¶ 19.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       50.     Defendants’ Statement: By then, the PGX Defendants had determined they

would run out of liquidity in mid-May 2023, and that a sale of substantially all of their assets,

followed by a controlled liquidation through chapter 11 would yield the highest return for

creditors. Wallace Sup. Dec. ¶ 20.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       51.     Defendants’ Statement: Between April 5 and 6, 2023, some of the Defendants

shut down nearly 80% of their operations while conducting the first round of employee layoffs as

follows (the “First Layoffs”):

       a. Progrexion Teleservices, Inc. laid off a total of 800 employees at 8 facilities



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             located throughout 7 states;

       b. Progrexion ASG, Inc., laid off 77 employees at 7 facilities located

             throughout 6 states; and,

       c. Progrexion Marketing, Inc. laid off 14 employees who worked out of its

             Salt Lake City, Utah facility. Wallace Sup. Dec. ¶¶ 21(a)-(c).

                Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are insufficient documents in the evidentiary

record to support this statement.

       52.      Defendants’ Statement: Examples of the termination notices sent to employees

by Progrexion Teleservices, Inc., Progrexion ASG, Inc., and Progrexion Marketing, Inc. during

the First Layoffs are attached as Exhibit 3 to Wallace’s Supplemental Declaration. See Wallace

Sup. Dec. ¶ 22.

                Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are insufficient documents in the evidentiary

record to support this statement.

       53.      Defendants’ Statement: Meanwhile, between April and May 2023, with the

Forbearance Agreements in place, the Defendants and their advisors prepared for a chapter 11

filing. See Wallace Sup. Dec. ¶¶ 24. While developing a framework with the existing lenders that

contemplated a section 363 sale, followed by a liquidating chapter 11 plan, the Debtors’

investment banker aggressively marketed a 6-month debtor-in-possession financing to at least 30

potential DIP lenders. See id. Despite the robust marketing process, no alternative DIP proposals

emerged. See id.




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       Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement. Disputed to the extent this statement contains legal conclusions.

       54.     Defendants’ Statement: Concurrently, Lexington Law began mothballing

operations in advance of the chapter 11 process given that the PGX Defendants could no longer

support Lexington Law’s practice. Wallace Sup. Dec. ¶ 25.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement. Disputed to the extent this statement contains legal conclusions.

       55.     Defendants’ Statement: To that end, on May 11, 2023, Lexington Law laid off

123 employees who worked in Arizona and Utah; Progrexion ASG, Inc. laid off an additional 13

employees at two locations; and CreditRepair.com, Inc. laid off 15 employees at its facilities in

Salt Lake City, Utah (the “Second Layoffs”). Wallace Sup. Dec. ¶ 26.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are insufficient documents in the evidentiary

record to support this statement.

       56.     Defendants’ Statement: Examples of the termination notices sent to employees

by Lexington Law and Progrexion ASG, Inc. as part of the Second Layoffs are attached as

Exhibit 4 to Wallace’s Supplemental Declaration. See Wallace Sup. Dec. ¶ 27.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are insufficient documents in the evidentiary

record to support this statement.




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       57.     Defendants’ Statement: To ensure a soft landing in chapter 11 and finalize

certain documentation, on May 31, 2023, the First Lien Facility lenders agreed to fund a $2.9

million emergency facility ahead of the filing to help the Defendants ease into chapter 11.

Wallace Sup. Dec. ¶ 29.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

       58.     Defendants’ Statement: On June 4, 2023 (the “Petition Date”), Defendants filed

voluntary petitions under chapter 11 of the Bankruptcy Code. D.I. 1.

               Plaintiff’s response: Not disputed.

       59.     Defendants’ Statement: As part of its first day motions, Debtors sought joint

administration of their chapter 11 cases, which the Court subsequently granted. See D.I. 3, 55.

               Plaintiff’s response: Not disputed.

       60.     Defendants’ Statement: On June 5, 2023, Debtors filed a motion seeking

authority to obtain post-petition financing, utilize cash collateral, and grant certain super-priority

liens and super-priority administrative expense status to the DIP lenders. D.I. 17.

               Plaintiff’s response: Not disputed.

       61.     Defendants’ Statement: Among other things, Debtors sought permission to

borrow up to $19.9 million with a 105-day maturity. In exchange for this new-money financing,

the Debtors agreed to run a postpetition marketing process for substantially all of their assets and

absent any higher or better offers, the DIP lenders agreed to purchase the PGX assets and

“support a liquidating plan” and to include “a wind-down budget in the amount of no less than




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$2.625 million to support implementation of that plan.” D.I. 17 ¶ 2. Separately, the equity

holders of Lexington Law agreed to be the stalking horse bidder for the Lexington Law assets.

               Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are no documents in the evidentiary record to

support this statement.

               62.     Defendants’ Statement: On June 6, 2023, the Court entered an order

granting Defendants’ motion for authority to obtain post-petition financing on an interim basis

(the “Interim DIP Financing Order”). D.I. 70.

               Plaintiff’s response: Not disputed.

       63.     Defendants’ Statement: Under the Interim DIP Financing Order, the Court

authorized Defendants to borrow up to $12 million in new-money commitments, with the

remaining amount subject to a final order. See D.I. 70-1 at ¶ 6.01(s). The Court also approved

adequate protection for pre-petition secured creditors and DIP lenders, including the Defendants’

covenant to meet certain milestones leading to Defendants’ disposition of all their assets at a

section 363 auction within 65 days after the Petition Date. See D.I. 70 ¶ 11.

               Plaintiff’s response: Not disputed.

       64.     Defendants’ Statement: On June 6, 2023, Defendants Lexington Law laid off 13

employees who worked at two facilities in Arizona and Utah; Progrexion ASG, Inc. laid off 17

employees at three facilities in Utah, Texas, and Arizona; and Progrexion Marketing, Inc. laid off

3 employees at its facilities in Salt Lake City, Utah (the “Third Layoffs”). Wallace Sup. Dec. ¶

30.




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                 Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are insufficient documents in the evidentiary

record to support this statement.

        65.      Defendants’ Statement: Examples of the termination notices sent to employees

by Lexington Law, Progrexion ASG, Inc., and Progrexion Marketing, Inc. during the Third

Layoffs are attached as Exhibit 5 to Wallace’s Supplemental Declaration. See Wallace Sup. Dec.

¶ 31.

                 Plaintiff’s response: Plaintiff is unable to respond to this statement because

discovery has not commenced and there are insufficient documents in the evidentiary

record to support this statement.

D. Plaintiff’s Claims:

        66.      Defendants’ Statement: Plaintiff was laid off by Progrexion Teleservices, Inc.

during the First Layoffs on April 5, 2023. Wallace Sup. Dec. ¶ 23.

                 Plaintiff’s response: Not disputed.

        67.      Defendants’ Statement: On May 24, 2023, Plaintiff filed a complaint in the U.S.

District Court for the District of Utah against all Defendants alleging the layoffs violated the

WARN Act. Wallace Sup. Dec. ¶ 28.

                 Plaintiff’s response: Not disputed.

        68.      Defendants’ Statement: On June 5, 2023 – one day after the Petition Date –

Plaintiff initiated this adversary proceeding by filing an identical complaint in this Court. See

Adv. D.I. 1.

                 Plaintiff’s response: Not disputed.




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       69.     Defendants’ Statement: In this proceeding, Plaintiff seeks priority under 11

U.S.C. §§ 507(a)(4) and (a)(5) for up to $15,150 for each of the employees who were laid off by

any of the Defendants within 90 days of April 5, 2023, arguing those layoffs violated the WARN

Act. Adv. D.I. 1 at 13-14.

               Plaintiff’s response: Not disputed.

 Dated: October 20, 2023                    Respectfully submitted,


                                     By:    /s/ Christopher D. Loizides
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                                            - and –

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